                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL




 Case No.         CR 10-1031(A) AHM                                                            Date     January 18, 2011


 Present: The Honorable        A. HOWARD MATZ
 Interpreter

                Rita Sanchez                           Not Reported                                   Not Present
                Deputy Clerk                 Court Reporter/Recorder, Tape No.                  Assistant U.S. Attorney



                U.S.A. v. Defendant(s):            Present Cust. Bond            Attorneys for Defendants:     Present App. Ret.

(1) Enrique Faustino Aguilar Noriega

(2) Angela Maria Gomez Aguilar                               X            Stephen Larson                                        X

(3) Lindsey Manufacturing Company                                         Jan Lawrence Handzlik                                 X

(4) Dr. Keith E. Lindsey                                              X   Jan Lawrence Handzlik                                 X

(5) Steven K. Lee                                                     X   Janet Levine                                          X




Proceedings: IN CHAMBERS (No Proceedings Held)


      Today the Court signed an order lodged by the Government directing the Internal
Revenue Service to disclose certain tax returns. In light of that order, counsel for the Lindsey
defendants and Mr. Lee shall file a status report by January 20, 2011 stating whether their
noticed motion to compel discovery (Docket No. 132) now is moot.




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                                                                  Initials of Deputy Clerk




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